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    UNITED STATES DISTRICT COURT                 conviction became final. See Bazemore v.
    SOUTHERN DISTRICT OF GEORGIA                 United States, No. 4:96-cv-141, ECF No. 1
         SAVANNAH DIVISION                       (S.D. Ga. June 20, 1996). About four years
                                                 later, Bazemore succeeded in having vacated
LEVON BAZEMORE,
                                                 two state convictions used to enhance his
Plaintiff,                                       federal sentence. See ECF No. 35 at 1. Two
                                                 months after the vacatur Bazemore moved
V   .                      4:1 1-cv-259          pursuant to § 2255 and Federal Rule of Civil
                           4 :91-cr-176          Procedure 60(b) for a sentence reduction
                                                 arguing he no longer qualified as a career
UNITED STATES OF AMERICA,                        criminal. Id. at ECF No. 68. This Court
                                                 denied that petition as an uncertified second
Defendant.
                                                 or successive habeas petition. Id. at ECF
                      [I) i 0 D                  No. 72.

        I.       INTRODUCTION                         Bazemore filed the 2255 petition at issue
                                                 here, his numerically third petition, on
    Before the Court is the Government's
                                                 October 11, 2011, almost twenty years after
Motion to Reconsider the Court's order
                                                 conviction for various offenses related to his
granting Levon Bazemore's 28 U.S.C. §
                                                 involvement in the notorious Ricky Evens
2255 motion, ECF No. 35,' and Bazemore's
                                                 gang, ECF No. 1, and over a decade after he
Motion to Strike Government's Motion to
                                                 first moved for relief based on the vacatur of
Reconsider. ECF No. 37. The Government
                                                 state convictions. Bazemore, No. 4:96-cv-
asserts the Court made a clear error of law
                                                 141, ECF No. 68. In this petition, Bazemore
when it granted Bazemore's habeas petition
                                                 asserted for the second time a right to
on grounds that the opinion in Stewart v.
                                                 resentencing based on the vacatur. Id. The
United States, 646 F.3d 856 (11th Cir.
                                                 Government disputed the timeliness of
2011), restarted the one year statute of
                                                 Bazemore's petition since he filed it more
limitations on § 2255 claims for prisoners
                                                 than one year after the vacatur. See ECF
who succeed in having predicate convictions
                                                 No. 7.
vacated after sentencing. Id. at 2-3. After
much deliberation, the Court agrees and               This Court ultimately rejected the
GRANTS the Government's motion over              government's argument, concluding instead
Bazemore 's objections. Bazemore 's motion       that a new one year limitation clock ran
to strike is DISMISSED AS MOOT.                  from the date of the Stewart decision, thus
                                                 rendering Bazemore ' s petition timely. See
        II.      BACKGROUND
                                                 ECF Nos. 17; 23 (adopting Magistrate
   Bazemore's journey down the long and          Judge's Report and Recommendation). The
winding habeas road began shortly after his      Government appealed, but the Eleventh
                                                 Circuit dismissed the case for lack of
1
                                                 jurisdiction because the grant of Bazemore's
 All docket citations in the format "ECF No.
are to Bazemore's civil case, No. 4:11-cv-259.   2255 petition "[is] not final and appealable"
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until Bazemore is resentenced. ECF No. 34                 544 U.S. 295 (2005), is necessary to explain
at 2. A date for resentencing has not yet                 why.
been set.
                                                              "Johnson established that the basis for a
    III. ANALYSIS                                         [habeas] claim challenging a sentence
                                                          predicated on faulty state convictions arises
    As a threshold concern, the Court must
                                                          when the order vacating those predicate
consider whether it has the authority to
                                                          convictions issues." Stewart, 646 F.3d at
reconsider its previous grant of Bazemore's
habeas petition. The answer is yes. Grants                856. From that, the Supreme Court further
                                                          held that prisoners have a fresh one year
of 2255 petitions do not become final,
                                                          statute of limitations to file Johnson claims
appealable orders until after resentencing.
                                                          that runs from the date the state convictions
See United States v. Futch, 518 F.3d 887,
                                                          are vacated, assuming the prisoner exercises
894 (11th Cir. 2008). Since the order
                                                          due diligence in having the convictions
granting Bazemore's petition is
                                                          vacated. 3 Id.
interlocutory, this Court "has plenary power
over it." Toole v. Baxter Healthcare Corp.,                   Stewart, on the other hand, answered the
235 F.3d 1307, 1315 (11th Cii. 2000);2 see                related but separate question of whether a
also Fed. R. Civ. P. 54(b) (stating that any              numerically second habeas petition raising a
non-final order "may be revised at any time               Johnson claim is second or successive for
before the entry of a judgment adjudicating               purposes of the Antiterrorism and Effective
all the claims."). Reconsideration of non-                Death Penalty Act ("AEDPA"). Id. at 858.
final orders like Bazemore's, moreover, is                The Eleventh Circuit held that when
"not subject to the limitations of [Federal]              diligently pursued vacatur of a state
Rule [of Civil Procedure] 59" because such                conviction occurs after a prisoner's initial
orders are not judgments as defined by Rule               habeas proceedings have concluded, a
54(a). Toole, 235 F.3d at 1315; Fed. R. Civ.              numerically second habeas petition premised
P. 54(a) (defining judgment as an order from              on the vacatur is not subject to AEDPA's
which an appeal lies).                                    second or successive restrictions. Id. at 865.
    Having established that reconsideration                   What Stewart did not address is any
is possible, the Court must now examine                   question of the timeliness of a numerically
whether reconsideration is in fact                        second petition raising a Johnson claim.
appropriate in this case. It is. A brief                  Stewart's sole doctrinal contribution
summation of Stewart and the Supreme                      involved successiveness issues. Stewart did
Court's decision in Johnson v. United States,             not hold that its decision restarted the one
                                                          year limitations clock. In fact, Stewart had
                                                          no occasion to address the timeliness of the
2
 The Government cites Bon Air Hotel, Inc. v. Time,        petition before the Court because Stewart
Inc., 426 F.2d 858 (5th Cir. 1970), for this same
proposition. While Bon Air certainly remains good           The diligence of a prisoner seeking vacation is
law on this point, it has been abrogated on other         measured beginning from the time the state
grounds by Little v. Liquid Air Corp., 37 F.3d 1069       convictions are used to enhance his federal sentence.
(5th Cir. 1994).                                          See Johnson, 544 U.S. at 309.

                                                      2
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filed the numerically second petition whose           (2010) (internal quotations omitted).
denial he appealed barely a month after the           Stewart's change in law governing
vacatur of his state convictions. Id. at 858.         successive §2255 motions simply is not an
                                                      "extraordinary circumstance" warranting
   Bazemore likewise filed a numerically
second habeas petition shortly after the state        equitable tolling. See Gonzalez v. Crosby,
                                                      545 U.S. 524, 536 (2005) (noting that "not
court vacated his convictions. But, at the
                                                      every interpretation of the federal statutes
time of that second petition, Bazemore
                                                      setting forth the requirements for habeas
suffered under the ancien regime where
                                                      provides cause for reopening cases.");
Johnson claims did not exist and
                                                      Outlerv. United States, 485 F.3d 1273, 1281
numerically second petitions raising
                                                      (11th Cir. 2007) (holding that change of law
Johnson claims failed as impermissibly
                                                      worked by Castro v. United States, 540 U.S.
successive. He had no Stewart to save him.
                                                      375 (2003), subsequent to petitioner's
    The coming of Stewart, however, cannot            habeas denial did not warrant equitable
save Bazemore's current habeas petition.              tolling).
As noted above, Stewart simply held that a
                                                          Bazemore, like the petitioner in Outier,
numerically second petition raising a
                                                      tries to argue that a "change of law
Johnson claim is not legally successive. Id.
                                                      demonstrates that long-closed previous
at 865. It did not speak to the timeliness of
                                                      litigation was decided against him
petitions under AEDPA's statute of
                                                      incorrectly." Outler, 485 F.3d at 1281.
limitations, or whether the rule it announced
                                                      Even if, under Stewart and Johnson, this
applied retroactively to situations like
                                                      Court wrongly decided Bazemore's
Bazemore's, where prisoners timely raise
                                                      numerically second habeas petition
otherwise valid Johnson claims yet have
their petitions denied as impermissibly               challenging his sentence based on the
                                                      vacatur of his state convictions, there is no
successive. To the extent that this Court
                                                      reason why the Court should consider the
predicated its decision to grant Bazemore's
                                                      change in law worked by those two cases to
petition on the Stewart opinion itself
                                                      "be any more extraordinary" than that
resetting the one year limitations clock, that
                                                      rejected for equitable tolling purposes in
decision is clearly erroneous and disavowed
                                                      Outler. Id. at 1282. Equitable tolling is
by the Court.
                                                      inappropriate here and the Court declines to
    Bazemore also argues that the Stewart             apply that "extraordinary remedy." Id. at
decision justifies equitable tolling of the one       1280.
year statute of limitations. See ECF No. 36
at 13. But it does not. Equitable tolling
only applies if the petitioner "(1) has been             IV.     CONCLUSION
pursuing his rights diligently, and (2)
                                                          The Court made a clear error of law in
some extraordinary circumstance stood in
                                                      its previous order granting Bazemore's §
his way and prevented timely filing."
                                                      2255 petition, ECF No. 23, when it held that
Holland v. Florida, 130 S. Ct. 2549, 2562             the Stewart opinion served to restart the one

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year AEDPA statute of limitations.
Furthermore, equitable tolling of that
limitations period is inappropriate. The
Court accordingly         GRANTS      the
Government's motion for reconsideration,
ECF No. 35, and DISMISSES AS MOOT
Bazemore's motion to strike. ECF No. 37.
Bazemore's § 2255 petition is DENIED.




This 23rd day of May 2013.




I 96'
 B. AVANT EDENFIEL$ JUDGE
 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF GEORGIA




                                            El
